Case 20-66891-bem        Doc 33   Filed 09/22/20 Entered 09/22/20 11:54:30       Desc Main
                                  Document     Page 1 of 3




                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

IN RE:                                      *
         LA PROPERTY                        *    CASE NUMBER:         20-66891-BEM
         INVESTMENTS, LLC                   *
                                            *
                       Debtor.              *
                                            *
                                            *    CHAPTER:             11
                                            *
                       WITHDRAWAL OF APPLICATION TO EMPLOY

         COMES NOW LA PROPERTY INVESTMENTS, LLC, Debtor in the above-styled
matter and withdraws the Application to Employ Sims W. Gordon, Jr., and The Gordon Law Firm,
PC, as counsel for Debtor [Doc.27].

         This the 22nd day of September, 2020.

                                                 Respectfully submitted,

                                                 THE GORDON LAW FIRM, PC


                                                 /s/ Sims W. Gordon, Jr.
                                                 By: Sims W. Gordon, Jr.
                                                 Georgia State Bar No.: 302483
                                                 Attorney for Debtor




THE GORDON LAW FIRM, PC
400 Galleria Parkway, SE
Suite 1500
Atlanta, GA 30339
(770) 955-5000
law@gordonlawpc.com
Case 20-66891-bem      Doc 33   Filed 09/22/20 Entered 09/22/20 11:54:30            Desc Main
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                              CERTIFICATE OF SERVICE

       I, Sims W. Gordon, Jr. of The Gordon Law Firm, PC, 400 Galleria Parkway, Suite 1500,
Atlanta, GA 30339, certify:

      That I am and was at all times hereinafter mentioned more than 18 years of age;

     That on the 7th day of July, 2020, I served a copy of the within NOTICE OF
APPEARANCE, filed in this matter, on:

[SEE ATTACHED MAILING LIST]



I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND
CORRECT.


Executed on: 09/22/2020                                  By: /s/ Sims W. Gordon, Jr.
               Case 20-66891-bem             Doc 33       Filed 09/22/20           Entered 09/22/20 11:54:30            Desc Main
Label Matrix for local noticing                      CalconDocument
                                                            Mutual Mortgage LLC
                                                                             Page 3 of 3                  Lisa F. Caplan
113E-1                                               3131 Camino Del Rio North                            Rubin Lublin, LLC
Case 20-66891-bem                                    Suite 1680                                           Suite 100
Northern District of Georgia                         San Diego, CA 92108-5755                             3145 Avalon Ridge Place
Atlanta                                                                                                   Peachtree Corners, GA 30071-1570
Tue Sep 22 11:48:47 EDT 2020
Sims W. Gordon Jr.                                   Internal Revenue Service                             LA Property Investments LLC
The Gordon Law Firm PC                               P. O. Box 7346                                       3034 Dogwood Drive
Suite 1500                                           Philadelphia, PA 19101-7346                          Atlanta, GA 30354-1119
400 Galleria Parkway, SE
Atlanta, GA 30339-5953

Vanessa A. Leo                                       One Trust Home Loans                                 Secretary of the Treasury
Office of the United States Trustee                  dba Calcon Mutual Mortgage LLC                       15th & Pennsylvania Avenue, NW
362 Richard B. Russell Building                      3131 Camino Del Rio North                            Washington, DC 20200
75 Ted Turner Drive SW                               Suite 1680
Atlanta, GA 30303-3315                               San Diego, CA 92108-5755

U. S. Securities and Exchange Commission             United States Trustee
Office of Reorganization                             362 Richard Russell Federal Building
Suite 900                                            75 Ted Turner Drive, SW
950 East Paces Ferry Road, NE                        Atlanta, GA 30303-3315
Atlanta, GA 30326-1382




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)CalCon Mutual Mortgage LLC                        End of Label Matrix
                                                     Mailable recipients    10
                                                     Bypassed recipients     1
                                                     Total                  11
